Fill in this information to identify your case:

Debtor 1          MARCO ANTONIO GUTIERREZ
                  __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District
                                        __________        of California
                                                     District of __________

Case number         20-40780
                    ___________________________________________                                                                              Check if this is an
 (If known)                                                                                                                                     amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                           12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that     Did you claim the property
                                                                                    secures a debt?                                     as exempt on Schedule C?

          Creditor’s
                          SANTANDER                                                
                                                                                   ✔ Surrender the property.                            
                                                                                                                                        ✔ No
          name:
                                                                                    Retain the property and redeem it.                  Yes
         Description of          2017 KIA SEDONA
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

  
         Creditor’s
                          TELSA                                                     Surrender the property.                            
                                                                                                                                        ✔ No
         name:
                                                                                   
                                                                                   ✔ Retain the property and redeem it.                  Yes
         Description of          SOLAR PANELS- 3985 BOLINAS                         Retain the property and enter into a
         property                PLACE DISCOVERY BAY, CA 94505
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________
  
         Creditor’s                                                                 Surrender the property.                             No
         name:
                                                                                    Retain the property and redeem it.                  Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                             No
         name:
                                                                                    Retain the property and redeem it.                  Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                      ______________________________________
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